,Case 1:24-cv-04108-ALC Document 3-14 Filed 05/30/24 Pageilof1,

Dawn Diforio

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Case Number; CV-05361-23/BX_

Case Title: Synchrony Bank vs Erika N Wilson

Name: Ellen Eakley

Organization/Agency/Firm Name: J&E Process Services, Tne.
Represented Party: Synchrony Bank

Party Role: Plaintiff

Phone Number: 914-328-1069

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